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CRIMINAL PROCEEDINGS - Arraignment/Plea Agreement hearing
  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
Judge: Debora K. Grasham            Date: August 10, 2023
Courtroom Deputy/ESR: Stuart Kaylor Time: 2:30pm-3:12pm
                                    Location: Boise, ID

                UNITED STATES OF AMERICA vs. Timber Roberts
                Case No.: 1:23-cr-0053-DKG-1 and 1:23-mj-00108-DKG-1

Counsel for United States: AUSA Christopher Booker and Robert Firpo
Counsel for Defendant: Mark DeAngelo, FD

☒ Court summarized the amended information and the plea agreement; counsel
concurred with summary.
☒ Defendant placed under oath.
☒ Waiver of Right to District Judge executed.
☒ Defendant found competent to enter a knowing and voluntary plea.
☒ Defendant is satisfied with representation of counsel.
☒ Defendant’s Constitutional Rights explained.
☒ Defendant advised of maximum penalties.
☒ Defendant advised of the sentencing guidelines.
☒ Government stated for the record the elements and evidence of the charge(s).
☒ Defendant agrees with the elements of the charge(s) as stated by the Government.
☒ Defendant advised of the sentencing guidelines. Plea Agreement discussed and
Defendant understands the terms of the agreement.
☒ Defendant and counsel advised the change of plea is voluntary, all potential defenses
have been discussed and Defendant fully understand the rights which are being waived.
☒ Defendant entered a plea of guilty to Count(s) 1,7, and 8 of the amended information
for case 1:23-cr-53-DKG-1.
Defendant entered a plea of guilty to Count 2 of the complaint for case
1:23-mj-108-DKG-1
☒ Plea accepted by the Court.
Sentencing set before Judge Debora K. Grasham, October 30, 2023 at 1:30 PM
Court ordered a presentence investigation report.
    Original report to Counsel: September 18, 2023
    Notification of Objections: October 2, 2023
    Final Report Due: October 16, 2023

Any motions for departure, sentencing memorandums or letters in support must be filed
seven (7) days prior to the sentencing hearing. Sentencing hearing is scheduled for 1 hour.
